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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

   ARBOR GLOBAL STRATEGIES LLC,                     §
                                                    §
                  Plaintiff,                        §
                                                    §
   v.                                               §
                                                    §
                                                              Case No. 2:19-cv-00333-JRG-RSP
    SAMSUNG ELECTRONICS CO., LTD.,                  §
    SAMSUNG ELECTRONICS AMERICA,                    §
  . INC., and SAMSUNG                               §
    SEMICONDUCTOR, INC.,                            §
                                                    §
                  Defendants.                       §

                                                 ORDER

            Before the Court is the Unopposed Motion for Leave to Take Depositions after the

  Deadline to Complete Fact Discovery (“Motion”), filed by Defendants Samsung Electronics Co.,

  Ltd., Samsung Electronics America, Inc. and Samsung Semiconductor, Inc. (Dkt. No. 161).

            After consideration, the Court GRANTS Defendants’ Motion. It is therefore ORDERED

        that the parties may depose Teresa Kreps and Scott Hillstrom after the close of fact discovery.
             SIGNED this 3rd day of January, 2012.
            SIGNED this 8th day of December, 2020.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE
